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 1
                                  UNITED STATES DISTRICT COURT
 2                                                  for the
 3                                     Western District of Wisconsin
                                                Civil Division
 4

 5
     MICHELLE R GILBANK, et al.,                        Case No.: 20-CV-601-JDP
 6
                    Plaintiffs,
 7
     vs.                                                BRIEF IN SUPPORT OF
 8                                                      PLAINTIFF’S MOTION FOR PARTIAL
     WOOD COUNTY DHS, et al.,                           SUMMARY JUDGEMENT
 9
                    Defendants.
10

11

12

13   I am filing this motion to the best of my ability and understanding. If it is deficient in any way,

14   please allow me leave to correct any requirements I have misunderstood.

15

16   Due process is the legal requirement that the state must respect all legal rights that are owed to a

17   person. When a government harms a person without following the exact course of the law, this

18   constitutes a due process violation, which offends the rule of law.

19

20   The right of individuals to determine how much and what information about themselves is to be

21   revealed to others (information privacy) and the freedom of individuals to perform or not

22   perform certain acts or subject themselves to certain experiences (personal autonomy) are

23

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 1   substantive due process rights that are clearly established. The right of a parent to the care and

 2   custody of her child is a right that is clearly established and requires strict scrutiny.

 3

 4   Federal procedural due process requirements include (1) a right to notice, (2) a right to an

 5   opportunity to be heard, (3) the right to an impartial tribunal, (4) the right to confrontation and

 6   cross-examination, and (5) the right to discovery.

 7

 8   Wisconsin state law provides that:

 9   Section 48.24 - Receipt of jurisdictional information; intake inquiry

10   (1) Information indicating that a child or an unborn child should be referred to the court as in

11   need of protection or services shall be referred to the intake worker, who shall conduct an intake

12   inquiry on behalf of the court to determine whether the available facts establish prima facie

13   jurisdiction and to determine the best interests of the child or unborn child and of the public with

14   regard to any action to be taken.

15   (1m) As part of the intake inquiry, the intake worker shall inform the child and the child's

16   parent, guardian and legal custodian that they, or the adult expectant mother of an unborn child

17   that she, may request counseling from a person designated by the court to provide dispositional

18   services under s. 48.069.

19   (2) (b) No child or other person may be compelled to appear at any conference, participate in a

20   multidisciplinary screen, produce any papers or visit any place by an intake worker.

21   Section 48.243 - Basic rights: duty of intake worker

22   (1) Before conferring with the parent, expectant mother or child during the intake inquiry, the

23   intake worker shall personally inform parents, expectant mothers and children 12 years of age

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 1   or older who are the focus of an inquiry regarding the need for protection or services that the

 2   referral may result in a petition to the court and of all of the following:

 3   (a) What allegations could be in the petition.

 4   (b) The nature and possible consequences of the proceedings.

 5   (c) The right to remain silent and the fact that silence of any party may be relevant.

 6   (d) The right to confront and cross-examine those appearing against them.

 7   (e) The right to counsel under s. 48.23.

 8   (f) The right to present and subpoena witnesses.

 9   (g) The right to a jury trial.

10   (h) The right to have the allegations of the petition proved by clear and convincing evidence.

11   (3) If the child or expectant mother has not had a hearing under s. 48.21 or 48.213 and was not

12   present at an intake conference under s. 48.24, the intake worker shall inform the child,

13   parent, guardian and legal custodian, or expectant mother, as appropriate, of the basic

14   rights provided under this section. The notice shall be given verbally, either in person or by

15   telephone, and in writing. This notice shall be given so as to allow the child, parent, guardian,

16   legal custodian or adult expectant mother sufficient time to prepare for the plea hearing. This

17   subsection does not apply to cases of informal disposition under s. 48.245.

18   Section 48.25 - Petition: authorization to file

19   (1) A petition initiating proceedings under this chapter shall be signed by a person who has

20   knowledge of the facts alleged or is informed of them and believes them to be true.

21   (6) If a proceeding is brought under s. 48.13, any party to or any governmental or social agency

22   involved in the proceeding may petition the court to issue a temporary restraining order and

23   injunction as provided in s. 813.122 or 813.125.

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 1   Section 48.255 - Petition; form and content

 2   (f) If the child is being held in custody outside of his or her home, reliable and credible

 3   information showing that continued placement of the child in his or her home would be contrary

 4   to the welfare of the child and, unless any of the circumstances specified in s. 48.355(2d) (b) 1 to

 5   5. applies, reliable and credible information showing that the person who took the child into

 6   custody and the intake worker have made reasonable efforts to prevent the removal of the

 7   child from the home, while assuring that the child's health and safety are the paramount

 8   concerns, and to make it possible for the child to return safely home.

 9   Section 48.27 - Notice; summons

10   (1)(a) After a petition has been filed relating to facts concerning a situation specified under s.

11   48.13 or a situation specified in s. 48.133 involving an expectant mother who is a child, unless

12   the parties under sub. (3) voluntarily appear, the court may issue a summons requiring the person

13   who has legal custody of the child to appear personally, and, if the court so orders, to bring the

14   child before the court at a time and place stated.

15   (b) After a petition has been filed relating to facts concerning a situation specified under s.

16   48.133 involving an expectant mother who is an adult, unless the adult expectant mother

17   voluntarily appears, the court may issue a summons requiring the adult expectant mother to

18   appear personally before the court at a time and place stated.

19   (2) Summons may be issued requiring the appearance of any other person whose presence, in the

20   opinion of the court, is necessary.

21   (3)(a)1. If the petition that was filed relates to facts concerning a situation under s. 48.13 or

22   a situation under s. 48.133 involving an expectant mother who is a child, the court shall notify,

23   under s. 48.273, the child, any parent, guardian, and legal custodian of the child, any foster

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 1   parent or other physical custodian described in s. 48.62(2) of the child, the unborn child's

 2   guardian ad litem, if applicable, and any person specified in par. (b), (d), or (e), if applicable, of

 3   all hearings involving the child except hearings on motions for which notice must be provided

 4   only to the child and his or her counsel and, if applicable, to the unborn child's guardian ad litem.

 5   If parents who are entitled to notice have the same place of residence, notice to one constitutes

 6   notice to the other. The first notice to any interested party, foster parent, or other physical

 7   custodian described in s. 48.62(2) shall be in writing and may have a copy of the petition

 8   attached to it. Notices of subsequent hearings may be given by telephone at least 72 hours before

 9   the time of the hearing. The person giving telephone notice shall place in the case file a signed

10   statement of the time notice was given and the person to whom he or she spoke.

11   (3)(a)(2) 2. Failure to give notice under subd. 1. to a foster parent or other physical custodian

12   described in s. 48.62(2) does not deprive the court of jurisdiction in the action or proceeding. If a

13   foster parent or other physical custodian described in s. 48.62(2) is not given notice of a hearing

14   under subd. 1., that person may request a rehearing on the matter during the pendency of

15   an order resulting from the hearing. If the request is made, the court shall order a

16   rehearing.

17   (4)(a) A notice under sub. (3) (a) or (b) shall:

18   1. Contain the name of the child, and the nature, location, date and time of the hearing.

19   2. Advise the child and any party, if applicable, of his or her right to legal counsel regardless of

20   ability to pay.

21   Section 48.19     Taking a child into custody.

22   (1) A child may be taken into custody under any of the following:

23   (a) A warrant.

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 1   (b) A capias issued by a judge under s. 48.28.

 2   (c) An order of the judge if made upon a showing satisfactory to the judge that the welfare of the

 3   child demands that the child be immediately removed from his or her present custody. The order

 4   shall specify that the child be held in custody under s. 48.207 (1).

 5   (cm) An order of the judge if made upon a showing satisfactory to the judge that the child is an

 6   expectant mother, that due to the child expectant mother's habitual lack of self-control in the use

 7   of alcohol beverages, controlled substances or controlled substance analogs, exhibited to a severe

 8   degree, there is a substantial risk that the physical health of the unborn child, and of the child

 9   when born, will be seriously affected or endangered unless the child expectant mother is taken

10   into custody and that the child expectant mother is refusing or has refused to accept any alcohol

11   or other drug abuse services offered to her or is not making or has not made a good faith effort to

12   participate in any alcohol or other drug abuse services offered to her. The order shall specify that

13   the child expectant mother be held in custody under s. 48.207 (1).

14   (d) Circumstances in which a law enforcement officer believes on reasonable grounds that any of

15   the following conditions exists:

16   1. A capias or a warrant for the child's apprehension has been issued in this state, or that the child

17   is a fugitive from justice.

18   2. A capias or a warrant for the child's apprehension has been issued in another state.

19   4. The child has run away from his or her parents, guardian or legal or physical custodian.

20   5. The child is suffering from illness or injury or is in immediate danger from his or her

21   surroundings and removal from those surroundings is necessary.

22   7. The child has violated the conditions of an order under s. 48.21 (4) or the conditions of an

23   order for temporary physical custody by an intake worker.

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 1   8. The child is an expectant mother and there is a substantial risk that the physical health of the

 2   unborn child, and of the child when born, will be seriously affected or endangered due to the

 3   child expectant mother's habitual lack of self-control in the use of alcohol beverages, controlled

 4   substances or controlled substance analogs, exhibited to a severe degree, unless the child

 5   expectant mother is taken into custody.

 6   (2) When a child is taken into physical custody under this section, the person taking the child

 7   into custody shall immediately attempt to notify the parent, guardian, legal custodian, and Indian

 8   custodian of the child by the most practical means. The person taking the child into custody shall

 9   continue such attempt until the parent, guardian, legal custodian, and Indian custodian of the

10   child are notified, or the child is delivered to an intake worker under s. 48.20 (3), whichever

11   occurs first. If the child is delivered to the intake worker before the parent, guardian, legal

12   custodian, and Indian custodian are notified, the intake worker, or another person at his or her

13   direction, shall continue the attempt to notify until the parent, guardian, legal custodian, and

14   Indian custodian of the child are notified.

15   (3) Taking into custody is not an arrest except for the purpose of determining whether the taking

16   into custody or the obtaining of any evidence is lawful.

17

18   On their petitions to the court, Defendants Heinzen-Janz and Iverson repeatedly elaborate, twist

19   facts, state things they know to be false, and leave out information vital for a determination of

20   the safety of T.E.H. It is Plaintiff’s belief that they do this to cover up their violations of

21   Plaintiff’s rights. Defendant Iverson explicitly informed Plaintiff that she had a right to have an

22   attorney present either before or during any questioning, and then when Plaintiff requested to

23   have such attorney, Defendant Heinzen-Janz accused her of refusing to cooperate and then

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 1   pinpointed her entire case to the courts around Plaintiff’s denial and refusal to cooperate, when

 2   all Plaintiff had done was request the attorney that she was told she had a right to.

 3

 4   Somewhere I read that if the right to a pre-deprivation hearing is violated it can be overcome by

 5   adequate post-deprivation procedures. But Plaintiff was denied this as well. Incorrect and

 6   incomplete information was given to the court. Plaintiff was not notified of the 48-hour hearing,

 7   neither vocally nor in writing, as required. Plaintiff made multiple attempts to notify the court of

 8   these violations and was denied having the post-deprivation hearing reopened, even though

 9   Wisconsin law states that it must be.

10

11   The doctrine of qualified immunity protects government officials ‘from liability for civil

12   damages insofar as their conduct does not violate clearly established statutory or constitutional

13   rights of which a reasonable person would have known.’” Pearson v. Callahan (2009) 555 U.S.

14   223, 129 S.Ct. 808, 815 [172 L.Ed.2d 565] (quoting Harlow v. Fitzgerald (1982) 457 U.S. 900,

15   818). Immunity is an objective test designed to protect all but “the plainly incompetent or those

16   who knowingly violate the law.” [Malley v. Briggs, 475 U.S. 335, 341 (1986)] The doctrine does

17   not shield defendants from the unlawful seizure of the minor children in violation of their 4th

18   Amendment right to be free from unreasonable seizure, nor the removal of the children from

19   their parent Plaintiffs, in violation of all Plaintiffs 14th Amendment right of familial association.

20

21   The liability of a government actor for the removal of children does not depend on their

22   “physical” involvement. In cases such as the conduct and active participation of Defendant

23   Heinzen-Janz and Defendant Iverson, it is enough that they was an “integral participant” in the

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 1   removal, part of a “joint decision” to remove children. [Boyd v. Benton County, 374 F.3d 773,

 2   780 (9th Cir. 2004); see also, Anderson v. County of Sonoma, 2009 WL 1458240, at *7, 9th

 3   Circuit affirming at 415 Fed.Appx. 6, 9- 10 (9th Cir. 2011) – citing “joint” decision between

 4   defendants not entitled qualified immunity in summary judgment ruling.)]

 5

 6   Plaintiff believes that she has provided sufficient evidence that each and every one of the

 7   procedural and substantive rights detailed above were violated by Defendant Heinzen-Janz and

 8   Defendant Iverson’s conscious disregard for Plaintiff and Plaintiff’s child when they violated

 9   state law in the removal of T.E.H. from Plaintiff’s care and custody, and the unlawful eviction of

10   Plaintiff from her home.

11   Because of this conscious disregard for established rights and laws, Plaintiff respectfully requests

12   that this Court finally grant Plaintiff’s pleas for redress and find Defendants Heinzen-Janz and

13   Iverson guilty of these offenses and liable for their actions.

14   Thank you.

15

16      Dated at Marshfield, Wisconsin, this 1st day of July, 2021.

17

18

19                                                                      Michelle R. Gilbank
20                                                                         Michelle R. Gilbank, pro se

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